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Case 4:21-cv-00619-MWB-EBC Document otha Balser | " Page 1 of 73-3h-2]

” FORM TO BE USED BY A PRISONER IN FILING A CIVIL RIGHTS COMPLAINT

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

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(Name of Plaintiff) -Gnmate Number) : tf: od C | Ob!
: (Case Number)
(Address)
(Each named party must be numbered,
and all names must be printed or typed)
VS. CIVIL COMPLAINT
(Ds (oer & TC. Al c
| . ILED
@ me Fox, Correctional officer: | SCRANTON
3)_mr Vrobel Corfectional officer: APR GR tant
(Names of Defendants) : Sy oncanl

 

(Each named party must be numbered,
and all names must be printed or typed)

 

TO BE FILED UNDER: 42 U.S.C. § 1983 - STATE OFFICIALS
28 U.S.C. § 1331 - FEDERAL OFFICIALS

I. PREVICUS LAWSUITS

A. If you have filed any other lawsuits in federal court while a prisoner, please list the caption and case
number including year, as well as the name of the judicial officer to whom it was assigned:

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hopes! # Ib-683% and I9-5237-Remanded back From 20/6 -To-Pre sew,
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Assaults /ABuse dee ntentionall . Wantoaly ino threaten fatter,
Case 4:21-cv-00619-MWB-EBC. Document 1 Filed 04/05/21 Page 2 of 7

i. EXHAUSTION OF ADMINISTRATIVE REMEDIES

In order to proceed in federal court, you must fully exhaust any available administrative remedies ass to
each ground on which you request action.

A. Is there a prisoner grievance procedure available at your present institution? Jz es INo

B. Have you fully exhausted your available administrative remedies regarding each of your present
i claims? Yes No ®oth

C. If your answer to “B” is Yes:
1. What steps did you take? L tryed to File on Remedies at the
Lrchhatione| level but Case Manager Or unites” trash Remedres,
_ 2. What was the result? if depend What i Pot (in Reme dves 7
But Basical hy iF (t's about staff assualts or Excessive force its frashed.

D. If your answer to “B” is No, explain why not: Soiwe | try fo, but + _Stop because

Was threaten by unit team 2 Shu C/o and Lieutepants of body~Har mM.

Ii. DEFENDANTS
(1) Name of first defendant: Lieuleneunl ir, Rosler

Employed as__Liguntenent at U,S.P- Canaan
Mailing address: P.O.Rox 300, Woy Mart PA 1@4']2
(2) Name of second defendant: _Liewtenan + mr, Heims
Employed as__ L-feuntenat “at U.S, P- Canaan
Mailing address:_®.0. Rox 200  WayMart Pf I S474
(3) Name of third defendant: _Liewte nant , Mr, HieKs
Employed as_ Lieutenant _at U.S, P= Canaan
Mailing address: _ P.O. Box 300 Way Mar t, PA (8472
(List any additional defendants, their employment, and addresses on extra sheets if necessary)
IV. STATEMENT OF CLAIM

(State here as briefly as possible the facts of your case. Describe how each defendant is involved, including
dates and places. Do not give any legal arguments or cite any cases or statutes. Attach no more than three

extra sheets if necessary.) .

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“See Attachment = Page

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RELIEF

(State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
statutes.)

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Case 4:21-cv-00619-MWB-EBC Document 1 Filed 04/05/21 Page 4 of 7

 

I declare under penalty of perjury that the foregoing is true and correct.

Signed this __ 3]. dayof March ,20 2].

 

' (Signature K Plaintiff
‘To.

| us SHC 4:21, fev VO GRTo- MWB-EBC! Document 1 Filed 04/051 2P.ap 5 of 7

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Frome T

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yaanda Gilmore a | [32ssi'tf

 

 

 

“S E.¢.¢-Allenwood-W.5-P
Po. Box 3000

 

White deer, PA 17.897

 

 

 

 

 

 

 

 

 

 

 

 

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